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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA : Criminal No. 18-
v.
Violation:
RICHARD PINEDO, : 18 U;S.C. § 1028 (Identity Fraud)
Defendant.
I N F 0 R M AT I 0 N

The Special Counsel informs the Court:
M
(Identity Fraud)

From approximately 2014 through November 2017, defendant RICHARD PINEDO did
knowingly transfer, possess, and use, in and affecting interstate and foreign commerce, and
without lawful authority, means of identification of other persons with the intent to commit, and
to aid or abet, and in connection with, unlawful activity that constitutes a violation of Federal
law, to wit, wire fraud, in violation of Title 18, United States Code, Section 1343. As a result of

the offense, PINEDO obtained $l,OOO or more during a one-year period.

(Title 13, United Sca¢es Code, Sections 1028(a)(7),(b)(1)(n) & (c)(s)(A).)

ROBERT S. MUELLER, III
Special Counsel

By: M/
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